                 Case 2:20-cr-00326-JFW   Document 718 Filed 10/17/22         Page 1 of 25 Page ID
                                                   #:16004



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             3   Los Angeles, California 90017
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             4   Facsimile: (213) 260-9450
             5
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             6   craig@craigwilkelaw.com
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             8   305 North Harbor Boulevard, Suite 216
                 Fullerton, California 92832-1901
             9   Telephone: (714) 870-8900
        10       Facsimile: (714) 879-2278
        11
                 Attorneys for Defendant
        12       Shen Zhen New World I, LLC
        13
        14                     IN THE UNITED STATES DISTRICT COURT
        15                         CENTRAL DISTRICT OF CALIFORNIA
        16
        17       UNITED STATES OF AMERICA,                   CR-20-326(A)-JFW-4
        18                   Plaintiff,                      DEFENDANT SHEN ZHEN NEW
                      v.                                     WORLD I, LLC’S PRE-TRIAL
        19
                                                             EXHIBIT LIST
        20       SHEN ZHEN NEW WORLD I, LLC,
        21                                                   Assigned to Hon. John F. Walter

        22                   Defendant.
        23
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STEINGARD                                                1
                 Case 2:20-cr-00326-JFW      Document 718 Filed 10/17/22       Page 2 of 25 Page ID
                                                      #:16005



             1         Defendant Shen Zhen New World I, LLC, by and through its counsel of
             2   record, Richard Steingard and Craig Wilke, hereby submit the government’s
             3   Exhibit List. The Defendant respectfully requests leave of the Court to supplement
             4   or modify this exhibit list, including adding or removing certain exhibits, as may
             5   be appropriate.
             6
             7   DATED: October 17, 2022               By:     /s/
             8                                                 RICHARD M. STEINGARD
             9                                                 CRAIG WILKE
                                                               Attorneys for Defendant
        10                                                     SHEN ZHEN NEW WORLD I, LLC
        11
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RICHARD M.
STEINGARD                                                  2
                 Case 2:20-cr-00326-JFW            Document 718 Filed 10/17/22           Page 3 of 25 Page ID
                                                            #:16006



             1             UNITED STATES v. SHEN ZHEN NEW WORLD I, LLC
             2                                          CR 20-326(A)-JFW
             3                      DEFENDANTS’ PRE-TRIAL EXHIBIT LIST
             4    Exh                  Title                    Witness       Govt.        Def.      Court's
                   #                                                         Objection   Response    Ruling
             5   Background (1000s)
             6    1001 Map of City of Shenzhen               Bill Allen;
                                                             Henry Wang
             7    1002   Photos of City of Shenzhen          Bill Allen;
                                                             Henry Wang
             8
                  1003   April 23, 2014 Los Angeles City     Agent; George
             9           Council, Journal/Council            Esparza
                         Proceeding re: Resolutions
        10        1004   April 24, 2014 Los Angeles City     Agent; George
                         Council Resolutions                 Esparza
        11
                 1005A   April 24, 2014Audio Recording       Agent; George
        12               Clip of Los Angeles City Council    Esparza
                         proceedings (26:10)
        13       1005B   April 23, 2014 Video Recording      Agent; George
                         of Los Angeles City Council         Esparza
        14               proceedings (26:10)
                  1006   Bill Allen LAEDC Biography          Bill Allen
        15               Page
                  1007   Henry Wang LinkedIn Page            Henry Wang
        16
                  1008   June 2014 LAEDC "Growing            Bill Allen;
        17               Together: China and Los Angeles     Henry Wang
                         County"
        18        1009   April 5-13, 2014 Los Angeles        Bill Allen;
                         County China Trade Mission          Henry Wang,
        19               Delegation Roster                   Kim Maevers
        20        1010   April 5-13, 2014 Los Angeles        Bill Allen;
                         County China Trade and              Henry Wang,
        21               Investment Mission Itinerary        Kim Maevers
        22        1011   May 5, 2014 Antelope Valley         Bill Allen;
                         Press - Valley joining in on Asia   Henry Wang,
        23               trade Article                       Kim Maevers

        24        1012   April 7, 2014 Photos of China       Henry Wang;
                         Trip                                Kim Maevers
        25        1013   U.S. Department of Homeland         Agent
                         Security Person Encounter List
        26
                 Interviews & Transcripts (1100s & 1200s)
        27        1101 September 2, 2015 FD-302           Jonathan Bell
                         Interview Report of Jonathan
        28               Bell (Casino_0384761)
LAW
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RICHARD M.
STEINGARD                                                            3
                 Case 2:20-cr-00326-JFW          Document 718 Filed 10/17/22   Page 4 of 25 Page ID
                                                          #:16007



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             4    1105   November 18, 2020 FD-302           Harris Chan
                         Interview Report of Harris Chan
             5           (Casino_2007313)
             6    1106   November 18, 2020 Harris Chan      Harris Chan
                         Interview Transcript
             7    1107   November 9, 2021 FD-302            Harris Chan
                         Interview Report of Harris Chan
             8           (Casino_2068647)
             9    1108   November 9, 2021 Transcript of     Harris Chan
                         Harris Chan Interview
        10        1109   January 11, 2022 FD-302            Harris Chan
                         Interview Report of Harris Chan
        11               (Casino_2068665)
                  1110   July 29, 2022 FD-302 Interview     Harris Chan
        12               Report of Harris Chan
        13               (Casino_2105393)
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                  1112   INTENTIONALLY LEFT
        15               BLANK
                  1113   INTENTIONALLY LEFT
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                  1114   July 11, 2017 FD-302 Interview     Max Chang
        17               Report & Transcript of Max
        18               Chang (Casino_2105393)
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        19               BLANK
                  1116   INTENTIONALLY LEFT
        20               BLANK
                  1117   INTENTIONALLY LEFT
        21               BLANK
                  1118   August 11, 2022 FD-302             Li Chen
        22               Interview Report of Li Chen
        23               (SZNW_TRIAL_00044)
                  1119   August 11, 2022 Transcript of Li   Li Chen
        24               Chen Interview
                  1120   INTENTIONALLY LEFT
        25               BLANK
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        27        1122   INTENTIONALLY LEFT
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OFFICES OF
RICHARD M.
STEINGARD                                                         4
                 Case 2:20-cr-00326-JFW         Document 718 Filed 10/17/22   Page 5 of 25 Page ID
                                                         #:16008



             1    1123   July 9, 2020 Grand Jury          Agent
                         Testimony of Andrew Civetti
             2           (Casino_2095324)
                  1124   November 12, 2020 Grand Jury     Agent
             3           of Andrew Civetti Testimony
                         (Casino_2095262)
             4    1125   June 14, 2022 Andrew Civetti     Agent
                         Testimony in U.S. v. Dae Yong
             5           Lee, et al.
             6    1126   June 16, 2022 Andrew Civetti     Agent
                         Testimony in U.S. v. Dae Yong
             7           Lee, et al.
                  1127   June 24, 2022 Andrew Civetti     Agent
             8           Testimony in U.S. v. Dae Yong
                         Lee, et al.
             9    1128   INTENTIONALLY LEFT
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        10        1129   INTENTIONALLY LEFT
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                  1130   INTENTIONALLY LEFT
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                  1131   INTENTIONALLY LEFT
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                  1132   INTENTIONALLY LEFT
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                  1133   July 13, 2017 FD-302 Interview   Virginia Clark
        15               Report of Virginia Clark
        16               (Casino_0359297)
                  1134   August 8, 2022 FD-302            Virginia Clark
        17               Interview Report of Virginia
                         Clark (SZNW_TRIAL_00034)
        18        1135   August 8, 2022 Transcript of     Virginia Clark
                         Virginia Clark Interview
        19        1136   INTENTIONALLY LEFT
        20               BLANK
                  1137   INTENTIONALLY LEFT
        21               BLANK
                  1138   INTENTIONALLY LEFT
        22               BLANK
                  1139   August 11, 2022 FD-302           Mark Davis
        23               Interview Report of Mark Davis
                         (SZNW_TRIAL_00053)
        24        1140   INTENTIONALLY LEFT
        25               BLANK
                  1141   INTENTIONALLY LEFT
        26               BLANK
                  1142   INTENTIONALLY LEFT
        27               BLANK
                  1143   July 8, 2022 FD-302 Interview    Jeff DiMarzio
        28               Report of Jeff DiMarzio
LAW
                         (Casino_2105619)
OFFICES OF
RICHARD M.
STEINGARD                                                         5
                 Case 2:20-cr-00326-JFW          Document 718 Filed 10/17/22   Page 6 of 25 Page ID
                                                          #:16009



             1    1144   July 8, 2022 - Transcript of Jeff   Jeff DiMarzio
                         DiMarzio Interview
             2           (Casino_2105389)
                  1145   INTENTIONALLY LEFT
             3           BLANK
                  1146   INTENTIONALLY LEFT
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                  1147   INTENTIONALLY LEFT
             5           BLANK
             6    1148   June 20, 2017 FD-302 Interview      George
                         Report of George Esparza            Esparza;
             7           (Casino_0359819)                    Agent
                  1149   June 20, 2017 Verbatim              George
             8           Transcription of George Esparza     Esparza;
                         Interview (Casino_0359836)          Agent
             9    1150   June 29, 2017 FD-302 Interview      George
                         Report of George Esparza            Esparza;
        10               (Casino_0360017)                    Agent
        11        1151   June 29, 2017 Transcript of         George
                         George Esparza Interview, Part 1    Esparza;
        12                                                   Agent
                  1152   June 29, 2017 Transcript of         George
        13               George Esparza Interview, Part 2    Esparza;
                                                             Agent
        14        1153   June 29, 2017 Transcript of         George
                         George Esparza Interview, Part 3    Esparza;
        15                                                   Agent
        16        1154   July 1, 2017 FD-302 Interview       George
                         Report of George Esparza            Esparza;
        17               (Casino_0360936)                    Agent
                  1155   July 1, 2017 Verbatim               George
        18               Transcription of George Esparza     Esparza;
                         Interview                           Agent
        19        1156   March 2, 2018 FD-302 Interview      George
                         Report of George Esparza            Esparza;
        20               (Casino_0359712)                    Agent
                  1157   November 13, 2018 FD-302            George
        21               Interview Report of George          Esparza;
        22               Esparza                             Agent
                  1158   December 12, 2018 FD-302            George
        23               Interview Report of George          Esparza;
                         Esparza                             Agent
        24        1159   January 15, 2019 FD-302             George
                         Interview Report of George          Esparza;
        25               Esparza                             Agent
                  1160   March 26, 2019 FD-302               George
        26               Interview Report of George          Esparza;
        27               Esparza                             Agent
                  1161   June 6, 2019 FD-302 Interview       George
        28               Report of George Esparza            Esparza;
                                                             Agent
LAW
OFFICES OF
RICHARD M.
STEINGARD                                                          6
                 Case 2:20-cr-00326-JFW          Document 718 Filed 10/17/22   Page 7 of 25 Page ID
                                                          #:16010



             1    1162   March 25, 2020 FD-302             George
                         Interview Report of George        Esparza;
             2           Esparza (Casino_0370725)          Agent
                  1163   June 15, 2020 FD-302 Interview    George
             3           Report of George Esparza          Esparza;
                         (Casino_0381184)                  Agent
             4    1164   September 19, 2022 George         George
                         Esparza Interview Report          Esparza;
             5           (SZNW_TRIAL_00932)                Agent
             6    1165   September 19, 2022 George         George
                         Esparza Interview Report          Esparza;
             7           (SZNW_TRIAL_00935)                Agent
                  1166   May 16, 2022 George Esparza       George
             8           Interview Report (Lee             Esparza;
                         Trial_00011)                      Agent
             9    1167   June 21, 2022 George Esparza      George
                         Trial Testimony                   Esparza;
        10                                                 Agent
        11        1168   INTENTIONALLY LEFT
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        13        1170   INTENTIONALLY LEFT
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        14        1171   INTENTIONALLY LEFT
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                  1173   January 27, 2022 FD-302           Rose Fistrovic
        17               Interview Report of Rose
                         Fistrovic (Casino_2096625)
        18        1174   January 27, 2022 Transcript of    Rose Fistrovic
                         Rose Fistrovic Interview
        19        1175   July 20, 2022 FD-302 Interview    Rose Fistrovic
        20               Report of Rose Fistrovic
                         (Casino_2105384)
        21        1176   INTENTIONALLY LEFT
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        22        1177   INTENTIONALLY LEFT
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        23        1178   INTENTIONALLY LEFT
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        24        1179   September 2, 2015 FD-302          Kathy Flynn
        25               Interview Report of Kathy Flynn
                         (Casino_0384813)
        26        1180   INTENTIONALLY LEFT
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        27        1181   INTENTIONALLY LEFT
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OFFICES OF
RICHARD M.
STEINGARD                                                        7
                 Case 2:20-cr-00326-JFW          Document 718 Filed 10/17/22   Page 8 of 25 Page ID
                                                          #:16011



             1    1183   September 2, 2015 FD-302            Stephen
                         Interview Report of Stephen         Fryson
             2           Fryson (Casino_0384796)
                  1184   INTENTIONALLY LEFT
             3           BLANK
                  1185   INTENTIONALLY LEFT
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                  1186   INTENTIONALLY LEFT
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             6    1187   August 11, 2022 FD-302              Darius Hatami
                         Interview Report of Darius
             7           Hatami (SZNW_TRIAL_00031)
                  1188   August 11, 2022 Darius Hatami       Darius Hatami
             8           Interview Transcript
             9    1189   INTENTIONALLY LEFT
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        10        1190   INTENTIONALLY LEFT
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        11        1191   INTENTIONALLY LEFT
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        12        1192   November 13, 2022 FD-302            Tiffany Huang
                         Interview Report of Tiffany
        13               Huang (Casino_2007335)
        14        1193   INTENTIONALLY LEFT
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        15        1194   INTENTIONALLY LEFT
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        16        1195   INTENTIONALLY LEFT
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        17        1196   November 17, 2018 FD-302            Isidra Huizar
                         Interview Report of Isidra Huizar
        18               (Casino_0368186)
        19        1197   November 17, 2018 Summary           Isidra Huizar
                         Translation of Isidra Huizar
        20               Interview (Casino_0368190)
                  1198   February 4, 2020 FD-302             Isidra Huizar
        21               Interview Report of Isidra Huizar
                         (Casino_0370191)
        22        1199   September 28, 2022 Isidra Huizar    Isidra Huizar
                         Interview Report
        23               (SZNW_Trial_03786)
                  1200   INTENTIONALLY LEFT
        24               BLANK
        25        1201   INTENTIONALLY LEFT
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        26        1202   INTENTIONALLY LEFT
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        27        1203   November 17, 2018 FD-302            Salvador
                         Interview Report of Salvador        Huizar
        28               Huizar (Casino_0368272)
LAW
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RICHARD M.
STEINGARD                                                          8
                 Case 2:20-cr-00326-JFW          Document 718 Filed 10/17/22   Page 9 of 25 Page ID
                                                          #:16012



             1    1204   November 17, 2018 Transcript        Salvador
                         of Salvador Huizar Interview        Huizar
             2           (Casino_0368276)
                  1205   January 30, 2020 FD-302             Salvador
             3           Interview Report of Salvador        Huizar
                         Huizar (Casino_0370203)
             4    1206   September 27, 2022 Salvador         Salvador
                         Huizar Interview Report             Huizar
             5           (SZNW_Trial_03799)
             6    1207   INTENTIONALLY LEFT
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             7    1208   INTENTIONALLY LEFT
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             8    1209   INTENTIONALLY LEFT
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             9    1210   July 8, 2022 FD-302 Interview       Satoru Kato
                         Report of Satoru Kato
        10               (Casino_2106147)
        11        1211   July 8, 2022 Transcript of Satoru   Satoru Kato
                         Kato Interview
        12               (Casino_2105391)
                  1212   INTENTIONALLY LEFT
        13               BLANK
                  1213   INTENTIONALLY LEFT
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                  1214   INTENTIONALLY LEFT
        15               BLANK
        16        1215   May 7, 2022 FD-302 Interview        Kevin Keller
                         Report of Kevin Keller
        17               (Casino_0371300)
                  1216   May 7, 2020 Transcript of           Kevin Keller
        18               Interview of Kevin Keller, Part 1
                         (Casino_1981901)
        19        1217   May 7, 2020 Transcript of           Kevin Keller
                         Interview of Kevin Keller, Part 2
        20               (Casino_1981900)
        21        1218   May 28, 2020 FD-302 Interview       Kevin Keller
                         Report of Kevin Keller
        22               (Casino_0372237)
                  1219   August 4, 2022 FD-302               Kevin Keller
        23               Interview Report of Kevin Keller
                         (Casino_2105609)
        24        1220   September 7, 2022 Kevin Keller      Kevin Keller
                         Interview Report
        25               (SZNW_TRIAL_00922)
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        27        1222   INTENTIONALLY LEFT
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        28        1223   INTENTIONALLY LEFT
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STEINGARD                                                          9
                 Case 2:20-cr-00326-JFW        Document 718 Filed 10/17/22   Page 10 of 25 Page ID
                                                        #:16013



             1    1224   November 7, 2018 FD-302          Shawn Kuk
                         Interview Report of Shawn Kuk
             2           (Casino_0361328)
                  1225   November 7, 2018 Shawn Kuk       Shawn Kuk
             3           Interview Transcript
                         (Casino_0172529)
             4    1226   November 7, 2018 Shawn Kuk       Shawn Kuk
                         Interview Transcript
             5           (Casino_0172530)
             6    1227   December 13, 2018 FD-302         Shawn Kuk
                         Interview Report of Shawn Kuk
             7           (Casino_0364948)
                  1228   July 2, 2019 FD-302 Interview    Shawn Kuk
             8           Report of Shawn Kuk
                         (Casino_0366460)
             9    1229   March 13, 2020 FD-302            Shawn Kuk
                         Interview Report of Shawn Kuk
        10               (Casino_0370819)
        11        1230   August 12, 2020 FD-302           Shawn Kuk
                         Interview Report of Shawn Kuk
        12               (Casino_2006911)
                  1231   September 6, 2022 FD-302         Shawn Kuk
        13               Interview Report of Shawn Kuk
                         (SZNW_Trial_00890)
        14        1232   June 16, 2022 Shawn Kuk Trial    Shawn Kuk
                         Testimony
        15        1233   June 17, 2022 Shawn Kuk Trial    Shawn Kuk
                         Testimony
        16
                  1234   INTENTIONALLY LEFT
        17               BLANK
                  1235   May 29, 2020 FD-302 Interview    Nick Maricich
        18               Report of Nick Maricich
                         (Casino_0372284)
        19        1236   May 29, 2020 Nick Maricich       Nick Maricich
                         Interview Transcript
        20
                  1237   INTENTIONALLY LEFT
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        22               BLANK
                  1239   INTENTIONALLY LEFT
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                  1240   January 26, 2021 FD-302          Peggy
        24               Interview Report of Peggy        O'Donovan
        25               O'Donovan (Casino_2007543)
                  1241   January 26, 2021 Peggy           Peggy
        26               O'Donovan Interview Transcript   O'Donovan
                  1242   September 20, 2022 Peggy         Peggy
        27               O'Donovan Interview Report       O'Donovan
                         (SZNW_TRIAL_00928)
        28
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RICHARD M.
STEINGARD                                                      10
                 Case 2:20-cr-00326-JFW          Document 718 Filed 10/17/22   Page 11 of 25 Page ID
                                                          #:16014



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             4    1246   May 21, 2020 FD-302 Interview       Richelle Rios
                         Report of Richelle Rios
             5           (Casino_0371353)
             6    1247   May 21, 2020 Richelle Rios          Richelle Rios
                         Interview Transcript
             7    1248   INTENTIONALLY LEFT
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             8    1249   INTENTIONALLY LEFT
             9           BLANK
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                  1251   September 2, 2015 FD-302            Jonathan
        11               Interview Report of Jonathan        Solomon
                         Solomon (Casino_0356405)
        12        1252   INTENTIONALLY LEFT
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        13        1253   INTENTIONALLY LEFT
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                  1254   INTENTIONALLY LEFT
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                  1255   February 4, 2021 FD-302             Verita Verita
        16               Interview Report of Verita Verita
                         (Casino_2053971)
        17        1256   February 4, 2021 Verita Verita      Verita Verita
                         Interview Transcript
        18
                  1257   INTENTIONALLY LEFT
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                  1259   INTENTIONALLY LEFT
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                  1260   September 17, 2018 FD-302           Yan Yan
        22               Interview Report of Yan Yan
        23               (Casino_0363161)
                  1261   November 19, 2018 FD-302            Yan Yan
        24               Interview Report of Yan Yan
                         (Casino_0363895)
        25        1262   December 4, 2018 FD-302             Yan Yan
                         Interview Report of Yan Yan
        26               (Casino_0363886)
                  1263   September 12, 2022 Interview        Yan Yan
        27               Report of Yan Yan
        28               (SZNW_Trial_00916)

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STEINGARD                                                          11
                 Case 2:20-cr-00326-JFW        Document 718 Filed 10/17/22   Page 12 of 25 Page ID
                                                        #:16015



             1    1264   INTENTIONALLY LEFT
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             3    1266   INTENTIONALLY LEFT
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             4    1267   October 1, 2019 FD-302            Henry Yong
                         Interview Report of Henry Yong
             5           (Casino_0365234)
             6    1268   INTENTIONALLY LEFT
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             7    1269   INTENTIONALLY LEFT
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             8    1270   INTENTIONALLY LEFT
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             9    1271   February 13, 2019 FD-302          Ricky Zheng
                         Interview Report of Ricky Zheng
        10               (Casino_0364010)
        11        1272   February 21, 2019 FD-302          Ricky Zheng
                         Interview Report of Ricky Zheng
        12               (Casino_0368251)
                  1273   April 8, 2019 FD-302 Interview    Ricky Zheng
        13               Report of Ricky Zheng
                         (Casino_0368261)
        14        1274   October 27, 2020 FD-302           Ricky Zheng
                         Interview Report of Ricky Zheng
        15               (Casino_2007297)
        16        1275   October 27, 2020 Ricky Zheng      Ricky Zheng
                         Interview Transcript
        17        1276   September 8, 2022 Interview       Ricky Zheng
                         Report of Ricky Zheng
        18               (SZNW_TRIAL_00925)
                  1277   September 15, 2022 Interview      Ricky Zheng
        19               Report of Ricky Zheng
        20               (SZNW_TRIAL_00945)
                  1278   September 15, 2022 Interview      Ricky Zheng
        21               Report of Ricky Zheng
                         (SZNW_TRIAL_00947)
        22        1279   INTENTIONALLY LEFT
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        23        1280   INTENTIONALLY LEFT
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        24        1281   INTENTIONALLY LEFT
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                  1283   INTENTIONALLY LEFT
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LAW
OFFICES OF
RICHARD M.
STEINGARD                                                       12
                 Case 2:20-cr-00326-JFW          Document 718 Filed 10/17/22   Page 13 of 25 Page ID
                                                          #:16016



             1    LA Grand Redevelopment Project (1300s)
                   1301 August 1, 2016 Email from        Kevin Keller;
             2           Kevin Keller to Vince Bertoni   Nick Maricich
             3    1302    August 1, 2016 Email from        Kevin Keller;
                          Kevin Keller to Nick Maricich    Nick Maricich
             4    1303    August 3, 2016 Email from        Kevin Keller;
                          Kevin Keller to Paul Habib       Nick Maricich
             5
                  1304    August 4, 2016 Email from        Kevin Keller;
             6            Kevin Keller to Raymond Chan     Nick Maricich
                  1305    August 5, 2016 Planning & Econ   Shawn Kuk;
             7            Development Weekly Report        Kevin Keller;
                          (Casino_0059841)                 Nick Maricich
             8
                  1306    May 4, 2018 Planning & Econ      Shawn Kuk;
             9            Development Weekly Report        Kevin Keller;
                          (Casino_0060864)                 Nick Maricich
        10
                  1307    May 11, 2018 Planning & Econ     Shawn Kuk;
        11                Development Weekly Report        Kevin Keller;
                          (Casino_0060873)                 Nick Maricich
        12
                  1308    June 15, 2018 Planning & Econ    Shawn Kuk;
        13                Development Weekly Report        Kevin Keller;
                          (Casino_0060919)                 Nick Maricich
        14
                  1309    June 29, 2018 Planning & Econ    Shawn Kuk;
        15                Development Weekly Report        Kevin Keller;
                          (Casino_0060937)                 Nick Maricich
        16        1310    July 16, 2018 LA Dept. of City   Kevin Keller;
        17                Planning Letter, Application     Rose Fistrovic
                          Deemed Complete
        18                (Casino_0814439)
                  1311    April 26, 2018 Rose Fistrovic    Rose
        19                Email and Psomas Entitlement     Fistrovic; Jeff
                          Schedule                         DiMarzio
        20                (Casino_0714333)
                  1312    June 22, 2018 Aly Smith Email    Rose
        21                and Psomas Entitlement           Fistrovic; Jeff
        22                Schedule (Casino_0714018)        DiMarzio
                  1313    July 13, 2018 Aly Smith Email    Rose
        23                and Psomas Entitlement           Fistrovic; Jeff
                          Schedule (Casino_0818309)        DiMarzio
        24        1314    The L.A. Hotel Downtown          Agent;
                          Presentation                     DiMarzio
        25        1315    June 7, 2018 Transfer of Floor   Agent;
                          Area Rights Application          DiMarzio
        26
                  1316    Rose Fistrovic Biography         Rose Fistrovic
        27        1317    Psomas' work post-2018           Rose Fistrovic
                  1318    DTLA Timeline                    Agent;
        28                (SZNW_TRIAL_03792)               DiMarzio
LAW
OFFICES OF
RICHARD M.
STEINGARD                                                        13
                 Case 2:20-cr-00326-JFW          Document 718 Filed 10/17/22   Page 14 of 25 Page ID
                                                          #:16017



             1    1319    January 15, 2018 CCA               Rose Fistrovic
                          Presentation
             2    1320    Roster for Project                 Rose Fistrovic
                  1321    January 31, 2019 E-mail Between    Rose Fistrovic
             3            Rose Fistrovic, Virginia Clark,
                          Hanwei and Shenzhen Team
             4    1322    June 3, 2019 City of Los Angeles   Rose Fistrovic
             5            Letter
                  1323    June 17, 2019 E-mail Between Jin Rose Fistrovic
             6            Hwang & Daisy Rojas
             7    1324    June 17, 2019 Metropolitan East    Rose Fistrovic
                          Service Planning Letter
             8    1325    June 25, 2019 The L.A. Grand       Rose Fistrovic
                          Hotel Downtown
             9            Redevelopment Utilities
        10                Technical Memorandum - Draft
                   1326 July 17, 2019 E-mail Between         Rose Fistrovic
        11                Jeffrey DiMarzio, Mike Swan &
                          Satoru Kato
        12         1327 July 18, 2019 E-mail Between         Rose Fistrovic
                          May Sirinopwongsagon &
        13                Jennifer Marks
                   1328 May 29-June 25, 2020 Psomas          Rose Fistrovic
        14                Invoice
        15        Loan (1400s)
                   1401 Attorney Records                     Sun, Yong
        16                                                   Peggy
                          December 2018 East West Bank       O'Donovan;
        17        1402
                          Demand and Loan Payoff             Verita Verita,
                                                             Yan Yan
        18                                                   Peggy
                          September 24, 2014 East West
        19        1403                                       O’Donovan;
                          Bank Short Note Inquiry
                                                             Verita Verita
        20                                                   Peggy
                          East West Bank Records re: APR
                  1404                                       O’Donovan;
                          Disclosure Results
        21                                                   Verita Verita
                          EWB Records re: Grace Luck
        22        1405    Holdings Account Opening           Yan, Verita
                          Information
        23                                                   Yan Yan;
                          September 17, 2014 East West
        24                                                   Peggy
                  1406    Bank Records re: Grace Luck
                                                             O’Donovan;
                          Holdings CD Account
        25                                                   Verita Verita
                                                             Yan Yan,
                          September 23, 2014 East West
        26                                                   Peggy
                  1407    Bank Note, Security Agreement
                                                             O’Donovan;
        27                and Disclosure Statement
                                                             Verita Verita
                                                             Yong,
        28                August 8, 2014 E-mail Between
                  1408                                       Esparza,
                          Henry Yong & George Esparza
LAW                                                          Zheng
OFFICES OF
RICHARD M.
STEINGARD                                                          14
                 Case 2:20-cr-00326-JFW           Document 718 Filed 10/17/22   Page 15 of 25 Page ID
                                                           #:16018



             1                                                Yong,
                          August 10-15, 2014 E-mails re:
                  1409                                        Esparza,
                          Promissory Notes
             2                                                Zheng
                                                              Yong;
             3            August 18, 2014 E-mails re: CD
                  1410                                        Esparza;
                          and Bank Loan
                                                              Zheng
             4
             5            August 22, 2014 E-mail Between
                  1411                                        Yong
                          Henry Yong & Jose Huizar
             6
                                                              Yong,
             7    1412
                          August 20, 2014 E-mail re: Fee
                                                              Esparza,
                          Agreement and Promissory Note
             8                                                Zheng
                          August 20, 2014 E-mail re:
                  1413                                        Yong, Esparza
             9            Amended Promissory Note

        10                August 20, 2014 E-mail re: Joint
                  1414                                        Yong, Esparza
                          Venture Agreement
        11                September 3, 2014 E-mail re:        Yong,
                  1415    American Plus Bank Loan             Esparza,
        12                Application                         Zheng
                          September 3, 2014 E-mail re:
        13        1416                                        Yong, Esparza
                          Promissory Note
                          September 5, 2014 E-mail re:        Yong,
        14        1417    Grace Luck Holdings Corporate       Esparza,
        15                Resolution                          Zheng, Yan
                                                              Esparza,
                          September 9, 2014 E-mail re:
        16                                                    Zheng, Yong,
                  1418    Grace Luck Holdings Corporate
                                                              Verita,
                          Resolution
        17                                                    O’Donovan
                                                              Yong,
        18                September 18, 2014 E-mail re:
                  1419                                        Esparza,
                          Letter of Authorization
                                                              Zheng
        19                December 2014 E-mails re:           Yan; Verita,
                  1420
        20                Foreign Address                     Zheng
                          October 3, 2015 E-mail re: Letter   Esparza;
                  1421
        21                of Authorization                    Zheng
                         April 25, 2018 E-mail re: Letter
        22        1422                                        Zheng; Yong
                         of Authorization
        23               East West Bank Records re:           O’Donovan,
                   1423
                         Loan Payoff                          Verita
        24               December 17-18, 2018 Fax & E-
                   1424 Mail Between Jose Huizar &
        25               Jason Gao
                  Las Vegas (1500s)
        26
                   1501 August 12, 2015 Venetian Casino       Agent;
        27               Patron Rating Detail of Wei          Anderson;
                         Huang (LVSC-HUIZAR-S 1-              Stern
        28               001065-7)
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OFFICES OF
RICHARD M.
STEINGARD                                                            15
                 Case 2:20-cr-00326-JFW         Document 718 Filed 10/17/22   Page 16 of 25 Page ID
                                                         #:16019



             1    1502   August 26, 2008 Venetian Casino    Agent;
                         Credit Line Information for Wei    Anderson;
             2           Huang (LVSC-HUIZAR-S 1 -           Stern
                         001514, 001210)
             3    1503   May 30, 2010 MGM Airfare for       Agent;
                         Wei Huang                          Anderson;
             4                                              Stern
                  1504   February 5, 2011 to September      Agent;
             5           21, 2014 MGM Grand Ratings         Anderson;
             6           for Wei Huang                      Stern
                  1505   Venetian Casino Patron Rating      Agent;
             7           Summary (LVSC-HUIZAR-S 1 -         Anderson;
                         001029)                            Stern
             8    1506   February 4-6, 2011 MGM Grand       Agent;
                         Spreadsheet of Comps for Wei       Anderson;
             9           Huang                              Stern
                  1507   August 24, 2013 Palazzo Report     Agent;
        10               (LVSC-HUIZAR-S1-001581)            Anderson;
        11                                                  Stern
                  1508   June 7, 2014 Jonathan Bell         Agent;
        12               Emails to Multiple Parties re:     Anderson;
                         "Huang, Wei #2666883" (LVSC-       Stern
        13               HUIZAR-S 1-001441-2)
                  1509   March 18, 2015 Las Vegas Sands     Agent;
        14               Credit Application Supplement      Anderson;
                         Signed by Wei Huang (LVSC-         Stern
        15               HUIZAR-S 1 -001467-8)
                  1510   June 7, 2014 Las Vegas Sands       Agent;
        16               Credit Application Supplement      Anderson;
        17               Signed by Wei Huang (LVSC-         Stern
                         HUIZAR-S 1 -001449-50)
        18        1511   INTENTIONALLY LEFT
                         BLANK
        19        1512   August 24, 2014 Palazzo Report(    Agent;
                         LVSC-HUIZAR-S 1 -001588-93)        Anderson;
        20                                                  Stern
                  1513   August 1, 2014 - August 11, 2015   Agent;
        21               Las Vegas Sands Aviation           Anderson;
        22               Passenger Use Report (LVSC-        Stern
                         HUIZAR-S 1 -000262-3)
        23        1514   August 23, 2019 FD-302 re:         Agent;
                         Government Subpoenas               Anderson;
        24                                                  Stern
                  1515   CTRs for Huang Wei,                Agent;
        25               Cosmopolitan of Las Vegas          Anderson;
                                                            Stern
        26        1516   12-21-16 - Palazzo Daily Log -     Agent;
                         (VLV001635)                        Anderson;
        27                                                  Stern
        28
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STEINGARD                                                        16
                 Case 2:20-cr-00326-JFW             Document 718 Filed 10/17/22   Page 17 of 25 Page ID
                                                             #:16020



             1    1517    12-17-16 - Palazzo Daily Log          Agent;
                          (VLV001691)                           Anderson;
             2                                                  Stern
                  1518    12-21-16 - Palazzo Daily Log          Agent;
             3            (VLV001694)                           Anderson;
                                                                Stern
             4    1519    Palazzo Flight Manifest               Agent;
                                                                Anderson;
             5                                                  Stern
             6    1520    June 14, 2014 [21:21:10] Video        Agent;
                          Still of Huizar, Huang, Zheng &       Anderson;
             7            Esparza                               Stern
                  1520A   June 14, 2014 [21:41:50-21:42:06]     Agent;
             8            Video Clip                            Anderson;
                                                                Stern
             9    1520B   June 14, 2014 [22:47:43-22:47:49]     Agent;
                          Video Clip                            Anderson;
        10                                                      Stern
        11        1520C   June 14, 2014 [22:48:32-22:48:32]     Agent;
                          Video Clip                            Anderson;
        12                                                      Stern
                  1521    June 15, 2014 [00:05:33] Video        Agent;
        13                Still of Huizar, Huang, Zheng &       Anderson;
                          Esparza                               Stern
        14        1521A   June 15, 2014 [23:52:09-23:52:14]     Agent;
                          Video Clip                            Anderson;
        15                                                      Stern
                  1522    July 7, 2015 [22:26:14] Video Still   Agent;
        16                of Esparza, Zheng, Huang, Yang        Anderson;
        17                & Huizar                              Stern
                  1522A   July 7, 2015 [21:19:50-21:19:55]      Agent;
        18                Video Clip                            Anderson;
                                                                Stern
        19        1522B   July 7, 2015 [21:52:10-21:52:48]      Agent;
                          Video Clip                            Anderson;
        20                                                      Stern
                  1522C   July 7, 2015 [21:53:47-21:54:02]      Agent;
        21                Video Clip                            Anderson;
        22                                                      Stern
                  1522D July 7, 2015 [22:22:07-22:22:24]        Agent;
        23              Video Clip                              Anderson;
                                                                Stern
        24        1523    August 5, 2016 [22:09:19] Video       Agent;
                          Still of Huizar, Zheng, Huang,        Anderson;
        25                Esparza & Chu                         Stern
                  1523A   August 5, 2016 [22:08:55-             Agent;
        26                22:09:03] Video Clip                  Anderson;
        27                                                      Stern
                  1523B   August 5, 2016 [23:09:32-             Agent;
        28                23:09:52] Video Clip                  Anderson;
                                                                Stern
LAW
OFFICES OF
RICHARD M.
STEINGARD                                                            17
                 Case 2:20-cr-00326-JFW          Document 718 Filed 10/17/22   Page 18 of 25 Page ID
                                                          #:16021



             1    1524    August 5, 2016 [23:10:00] Video Agent;
                          Still of Huizar, Zheng, Huang,  Anderson;
             2            Esparza & Chu                   Stern
                  1524A   August 5, 2016 [23:10:03-       Agent;
             3            23:10:07] Video Clip            Anderson;
                                                          Stern
             4    1534B August 5, 2016 [23:12:13-         Agent;
                        23:12:15] Video Clip              Anderson;
             5                                            Stern
             6    1524C August 5, 2016 [00:19:57-         Agent;
                        00:20:16] Video Clip              Anderson;
             7                                            Stern
                   1525 August 6, 2016 [22:46:46] Video   Agent;
             8          Still of Huizar, Zheng, Huang,    Anderson;
                        Yang, Chu & Esparza               Stern
             9    1525A August 6, 2016 [22:46:26-         Agent;
                        22:46:47] Video Clip              Anderson;
        10                                                Stern
        11        1525B August 6, 2016 [22:47:10-         Agent;
                        22:47:13] Video Clip              Anderson;
        12                                                Stern
                  1525C August 6, 2016 [23:09:42-         Agent;
        13              23:09:50] Video Clip              Anderson;
                                                          Stern
        14        1525D August 6, 2016 [23:12:00-         Agent;
                        23:12:10] Video Clip              Anderson;
        15                                                Stern
                  1525E August 6, 2016 [23:13:21-         Agent;
        16              23:13:30] Video Clip              Anderson;
        17                                                Stern
                  1525F August 6, 2016 [23:34:00-         Agent;
        18              23:34:05] Video Clip              Anderson;
                                                          Stern
        19         1526 August 6, 2016 [22:39:56] Video   Agent;
                        Still of Huizar, Zheng, Huang &   Anderson;
        20              Yang                              Stern
                  1526A August 6, 2016 [23:40:25-         Agent;
        21              23:40:50] Video Clip              Anderson;
        22                                                Stern
                   1527 January 28, 2017 [01:16:57] Video Agent;
        23              Still of Huizar, Zheng, Huang,    Anderson;
                        Yang, Chu & Esparza               Stern
        24        1527A January 28, 2017 [01:14:33-       Agent;
                        01:14:54] Video Clip              Anderson;
        25                                                Stern
                  1527B January 28, 2017 [01:15:03-       Agent;
        26              01:15:22] Video Clip              Anderson;
        27                                                Stern
                  1527C January 28, 2017 [01:18:48-       Agent;
        28              01:18:55] Video Clip              Anderson;
                                                          Stern
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OFFICES OF
RICHARD M.
STEINGARD                                                      18
                 Case 2:20-cr-00326-JFW         Document 718 Filed 10/17/22   Page 19 of 25 Page ID
                                                         #:16022



             1    1527D January 28, 2017 [01:19:17-       Agent;
                        01:19:31] Video Clip              Anderson;
             2                                            Stern
                  1527E January 28, 2017 [01:14:33-       Agent;
             3            01:14:54] Video Clip            Anderson;
                                                          Stern
             4     1528 January 28, 2017 [16:00:21] Video Agent;
                          Still of Zheng, UF 1, Huang, UM Anderson;
             5            1, UM 2, UM 3                   Stern
             6    1528A January 28, 2017 [15:51:16-       Agent;
                          15:52:40] Video Clip            Anderson;
             7                                            Stern
                  1528B January 28, 2017 [16:22:40-       Agent;
             8            16:22:47] Video Clip            Anderson;
                                                          Stern
             9    1528C January 28, 2017 [16:23:38-       Agent;
                          15:52:40] Video Clip            Anderson;
        10                                                Stern
        11        1528D January 28, 2017 [19:17:45-       Agent;
                          19:19:45] Video Clip            Anderson;
        12                                                Stern
                   1529 January 28, 2017 [15:41:56] Video Agent;
        13                Still of Zheng, UF, Huang, UM   Anderson;
                                                          Stern
        14        1529A January 28, 2017 [15:42:45-       Agent;
                          15:42:50] Video Clip            Anderson;
        15                                                Stern
                  Plea and Immunity Agreements (1600s)
        16
                   1601 February 15, 2020 E-mail from     George
        17                AUSA Mack Jenkins to Terrence Esparza;
                          Jones with Proposed Factual     Agent
        18                Basis Attached (Casino_2095823-
                          40)
        19         1602 March 10, 2020 to March 23,       George
                          2020 E-mail Thread Between      Esparza;
        20                AUSAs and Terrence Jones        Agent
        21                (Casino_2095841-43)
                   1603 Highlighted Revised Draft         George
        22                Factual Basis from AUSA Mack    Esparza;
                          Jenkins’ March 23, 2020 E-mail  Agent
        23                (Casino_2095844-63)
                   1604 March 25, 2020 E-mail from        George
        24                AUSA Veronica Dragalin          Esparza;
                          (Casino_2095864)                Agent
        25         1605 April 1, 2020 E-mail from         George
                          Terrence Jones to AUSAs         Esparza;
        26                Veronica Dragalin and Mack      Agent
        27                Jenkins with Executed Factual
                          Basis Attached (Casino_2095864)
        28
LAW
OFFICES OF
RICHARD M.
STEINGARD                                                      19
                 Case 2:20-cr-00326-JFW         Document 718 Filed 10/17/22   Page 20 of 25 Page ID
                                                         #:16023



             1    1606    September 19, 2014 Note from     George
                          George Esparza's Phone           Esparza;
             2            (Casino_0285983)                 Agent
                  1607    June 19, 2016 Note from George   George
             3            Esparza's Phone                  Esparza;
                                                           Agent
             4    1608    April 27, 2017 Note from         George
                          George Esparza's Phone           Esparza;
             5                                             Agent
             6    1609    June 29, 2017 Note from George   George
                          Esparza's Phone                  Esparza;
             7                                             Agent
                  Recordings (1700s)
             8     1701 April 20, 2017, 5:54 PM            George
                          Recording of Call Between        Esparza;
             9            George Esparza & Jesse Leon      Agent
        10        1701A April 20, 2017, 5:54 PM            George
                          Transcript of Call Between       Esparza;
        11                George Esparza & Jesse Leon      Agent
                   1702 April 23, 2017, 3:21 PM            George
        12                Recording of Call Between        Esparza; Ricky
                          George Esparza & Ricky Zheng     Zheng; Agent
        13        1702A April 23, 2017, 3:21 PM            George
                          Recording of Call Between        Esparza; Ricky
        14                George Esparza & Ricky Zheng     Zheng; Agent
                   1703 April 28, 2017, 2:36 PM            George
        15                Recording of Call Between        Esparza;
        16                George Esparza & George          Agent
                          Chiang
        17        1703A April 28, 2017, 2:36 PM            George
                          Transcript of Call Between       Esparza;
        18                George Esparza & George          Agent
                          Chiang
        19         1704 April 28, 2017, 3:52 PM            George
                          Recording of Call Between        Esparza; Ricky
        20                George Esparza & Ricky Zheng     Zheng; Agent
        21        1704A April 28, 2017, 3:52 PM            George
                          Transcript of Call Between       Esparza; Ricky
        22                George Esparza & Ricky Zheng     Zheng; Agent
                   1705 May 1, 2017, 11:40 AM              George
        23                Recording of Call Between        Esparza; Ricky
                          George Esparza & George          Zheng; Agent
        24                Chiang
                  1705A May 1, 2017, 11:40 AM              George
        25                Transcript of Call Between       Esparza; Ricky
                          George Esparza & George          Zheng; Agent
        26                Chiang
        27         1706 May 1, 2017, 11:48 AM              George
                          Recording of Call Between        Esparza; Ricky
        28                George Esparza & Ricky Zheng     Zheng; Agent
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RICHARD M.
STEINGARD                                                       20
                 Case 2:20-cr-00326-JFW         Document 718 Filed 10/17/22   Page 21 of 25 Page ID
                                                         #:16024



             1    1706A   May 1, 2017, 11:48 AM             George
                          Transcript of Call Between        Esparza; Ricky
             2            George Esparza & Ricky Zheng      Zheng; Agent
                  1707    May 3, 2017, 9:21 AM Recording    George
             3            of Call Between George Esparza    Esparza;
                          & Justin Kim                      Agent
             4    1707A   May 3, 2017, 9:21 AM Transcript   George
                          of Call Between George Esparza    Esparza;
             5            & Justin Kim                      Agent
             6    1708    May 9, 2017, 4:58 PM Recording    George
                          of Call Between George Esparza    Esparza; Ricky
             7            & Ricky Zheng                     Zheng; Agent
                  1708A   May 9, 2017, 4:58 PM Transcript   George
             8            of Call Between George Esparza    Esparza; Ricky
                          & Ricky Zheng                     Zheng; Agent
             9    1709    May 9, 2017, 9:58 AM Recording    George
                          of Call Between George Esparza    Esparza; Ricky
        10                & Ricky Zheng                     Zheng; Agent
        11        1709A   May 9, 2017, 9:58 AM Transcript   George
                          of Call Between George Esparza    Esparza; Ricky
        12                & Ricky Zheng                     Zheng; Agent
                  1710    May 17, 2017, 3:03 PM             George
        13                Recording of Call Between         Esparza; Ricky
                          George Esparza & Ricky Zheng      Zheng; Agent
        14        1710A   May 17, 2017, 3:03 PM             George
                          Transcript of Call Between        Esparza; Ricky
        15                George Esparza & Ricky Zheng      Zheng; Agent
                  1711    May 17, 2017, 5:30 PM             George
        16                Recording of Call Between         Esparza; Ricky
        17                George Esparza & Ricky Zheng      Zheng; Agent
                  1711A   May 17, 2017, 5:30 PM             George
        18                Transcript of Call Between        Esparza; Ricky
                          George Esparza & Ricky Zheng      Zheng; Agent
        19        1712    May 18, 2017, 2:05 PM             George
                          Recording of Call Between         Esparza; Ricky
        20                George Esparza & Ricky Zheng      Zheng; Agent
                  1712A   May 18, 2017, 2:05 PM             George
        21                Transcript of Call Between        Esparza; Ricky
        22                George Esparza & Ricky Zheng      Zheng; Agent
                  1713    May 18, 2017, 6:28 PM             George
        23                Recording of Call Between         Esparza; Ricky
                          George Esparza & Ricky Zheng      Zheng; Agent
        24        1713A   May 18, 2017, 6:28 PM             George
                          Transcript of Call Between        Esparza; Ricky
        25                George Esparza & Ricky Zheng      Zheng; Agent
                  1714    May 19, 2017, 2:46 PM             George
        26                Recording of Call Between         Esparza; Ricky
        27                George Esparza & Ricky Zheng      Zheng; Agent
                  1714A   May 19, 2017, 2:46 PM             George
        28                Transcript of Call Between        Esparza; Ricky
                          George Esparza & Ricky Zheng      Zheng; Agent
LAW
OFFICES OF
RICHARD M.
STEINGARD                                                        21
                 Case 2:20-cr-00326-JFW           Document 718 Filed 10/17/22   Page 22 of 25 Page ID
                                                           #:16025



             1    1715    May 19, 2017, 2:52 PM             George
                          Recording of Call Between         Esparza; Ricky
             2            George Esparza & Ricky Zheng      Zheng; Agent
                  1715A   May 19, 2017, 2:52 PM             George
             3            Transcript of Call Between        Esparza; Ricky
                          George Esparza & Ricky Zheng      Zheng; Agent
             4    1716    May 19, 2017, 4:30 PM             George
                          Recording of Call Between         Esparza; Ricky
             5            George Esparza & Ricky Zheng      Zheng; Agent
             6    1716A   May 19, 2017, 4:30 PM             George
                          Transcript of Call Between        Esparza; Ricky
             7            George Esparza & Ricky Zheng      Zheng; Agent
                  1717    May 24, 2017, 6:56 PM             George
             8            Recording of Call Between         Esparza;
                          George Esparza & Mayra            Agent
             9            Alvarez
                  1717A   May 24, 2017, 6:56 PM             George
        10                Transcript of Call Between        Esparza;
        11                George Esparza & Mayra            Agent
                          Alvarez
        12        1718    May 9, 2017 Recording of Call     Agent; George
                          Between George Esparza &          Esparza; Ricky
        13                Ricky Zheng                       Zheng

        14        1718A   May 9, 2017 Transcript of Call    Agent; George
                          Between George Esparza &          Esparza; Ricky
        15                Ricky Zheng                       Zheng
                  E-mails (1800s)
        16
                   1801 INTENTIONALLY LEFT
        17                BLANK
                   1802 INTENTIONALLY LEFT
        18                BLANK
                   1803 March 19, 2014 E-mail Between       George
        19                George Esparza and Wei Huang      Esparza; Ricky
                                                            Zheng; Agent
        20        1804    May 30, 2013 E-mail Between       Harris Chan
        21                Harris Chan, George Esparza &
                          Raymond Chan
        22        1805    May 14, 2017 E-mail Between       Ricky Zheng
                          Jose Huizar & Ricky Zheng
        23        1806    July 24, 2022 E-mail Between      Agent;
                          Jeffrey DiMarzio & Henry Jannol   DiMarzio
        24                (SZNW_TRIAL_03793)
        25        1807    April 18, 2016 E-mail Between     Agent;
                          Satoru Kato & 'Summer-SZNW'       DiMarzio
        26        1808    May 4, 2016 E-mails Between       Agent;
                          Raymond Chan & Jeffrey            DiMarzio
        27                DiMarzio
        28
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OFFICES OF
RICHARD M.
STEINGARD                                                        22
                 Case 2:20-cr-00326-JFW          Document 718 Filed 10/17/22   Page 23 of 25 Page ID
                                                          #:16026



             1    1809   July 20, 2016 E-mail Between        Agent;
                         Jeffrey DiMarzio & 'Summer-         DiMarzio
             2           SZNW'
                  1810   July 31, 2016 E-mail Between        Agent;
             3           Jeffrey DiMarzio & Satoru Kato      DiMarzio
             4    1811   May 10, 2018 E-mail Between         Agent;
                         Rose Fistrovic, Jeffrey DiMarzio,   DiMarzio
             5           Satoru Kato, Michael Nytzen &
                         Mitch Menzer
             6    1812   June 12, 2018 E-Mail Between        Agent;
                         Jeffrey DiMarzio & Kaige Yang       DiMarzio
             7    1813   March 18, 2016 E-mail Between       Agent;
             8           Jeffrey DiMarzio & Victor Li        DiMarzio
                  1814   July 16, 2015 E-mail Between        Agent;
             9           George Esparza & George             Esparza
                         Chiang
        10        1815   INTENTIONALLY LEFT
        11               BLANK
                  1816   INTENTIONALLY LEFT
        12               BLANK
                  1817   INTENTIONALLY LEFT
        13               BLANK
                  1818   July 1, 2013 George Esparza E-      Agent;
        14               mail                                Esparza
                  1819   INTENTIONALLY LEFT
        15               BLANK
        16        1820   INTENTIONALLY LEFT
                         BLANK
        17        1821   INTENTIONALLY LEFT
                         BLANK
        18        1822   Ricky Zheng E-mails                 Agent; Zheng
                  1823   INTENTIONALLY LEFT
        19               BLANK
        20        1824   INTENTIONALLY LEFT
                         BLANK
        21        1825   INTENTIONALLY LEFT
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        22        1826   INTENTIONALLY LEFT
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        23        1827   INTENTIONALLY LEFT
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        24        1828   INTENTIONALLY LEFT
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        25
                  1829   INTENTIONALLY LEFT
        26               BLANK
                  1830   INTENTIONALLY LEFT
        27               BLANK
                  1831   George Esparza E-mails              Agent;
        28                                                   Esparza
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STEINGARD                                                         23
                 Case 2:20-cr-00326-JFW        Document 718 Filed 10/17/22   Page 24 of 25 Page ID
                                                        #:16027



             1    1832   INTENTIONALLY LEFT
                         BLANK
             2     1833 INTENTIONALLY LEFT
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             3     1834 INTENTIONALLY LEFT
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             4     1835 INTENTIONALLY LEFT
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             5     1836 INTENTIONALLY LEFT
             6           BLANK
                   1837 INTENTIONALLY LEFT
             7           BLANK
                   1838 INTENTIONALLY LEFT
             8           BLANK
                   1839 INTENTIONALLY LEFT
             9           BLANK
                   1840 INTENTIONALLY LEFT
        10               BLANK
        11        Text Messages (1900s)
                   1901 May 8-9, 2017 Text Messages       Agent;
        12               Between George Esparza & Scott   Esparza
                         Yamabe
        13         1902 Text Messages Between Jeffrey     Agent;
                         DiMarzio & Virginia Clark        DiMarzio
        14
                  1903    Ricky Zheng Texts               Agent; Zheng
        15        1904    INTENTIONALLY LEFT
                          BLANK
        16        1905    INTENTIONALLY LEFT
        17                BLANK
                  1906    INTENTIONALLY LEFT
        18                BLANK
                  1907    INTENTIONALLY LEFT
        19                BLANK
                  1908    INTENTIONALLY LEFT
        20                BLANK
                  1909    INTENTIONALLY LEFT
        21                BLANK
        22        1910    INTENTIONALLY LEFT
                          BLANK
        23        1911    INTENTIONALLY LEFT
                          BLANK
        24        1912    INTENTIONALLY LEFT
                          BLANK
        25        1913    George Esparza Texts            Agent;
                                                          Esparza
        26        1914    INTENTIONALLY LEFT
                          BLANK
        27
                  1915    INTENTIONALLY LEFT
        28                BLANK

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                 Case 2:20-cr-00326-JFW          Document 718 Filed 10/17/22   Page 25 of 25 Page ID
                                                          #:16028



             1    1916    INTENTIONALLY LEFT
                          BLANK
             2     1917 INTENTIONALLY LEFT
                          BLANK
             3     1918 INTENTIONALLY LEFT
                          BLANK
             4     1919 INTENTIONALLY LEFT
                          BLANK
             5     1920 INTENTIONALLY LEFT
             6            BLANK
                   1921 INTENTIONALLY LEFT
             7            BLANK
                   1922 INTENTIONALLY LEFT
             8            BLANK
                  Photos (2000s)
             9     2001 Photos in Australia                 Agent;
        10                                                  Esparza;
                                                            Zheng
        11        2002    Photos in Cabo                    Agent;
                                                            Esparza;
        12                                                  Zheng
                  2003    Photos in Las Vegas               Agent;
        13                                                  Esparza;
                                                            Zheng
        14        Miscellaneous (2100s)
        15         2101 Agent Civetti Warrant Affidavits Agent
                   2102 Agent Civetti Complaint          Agent
        16                Affidavits
                  Summary Charts (2200s)
        17
                   2201 Godoy Settlement Money Flow      Demonstrative
        18         2202 Summary of Chip Sharing by
                          Huang 2013-2018
        19         2203 Individual Trips - Slide 1 WH RZ
                          JH
        20         2204 Summary Spreadsheet of Huang
                          Las Vegas Casino Trips
        21
                  2205    INTENTIONALLY LEFT
        22                BLANK
        23        2206    Bar Graph of Huang Trips to Las
                          Vegas
        24        2207    Breakdown of Comps 1
                  2208    Breakdown of Comps 2
        25
        26
        27
        28
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STEINGARD                                                        25
